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 NOT FOR PUBLICATION

                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY



   MICHAEL A. D’ANTONIO,                                  Civil Action No.: 16-08 16 (CCC-JBC)

                             Plaintiff,
                                                          ORDER
          .




   BOROUGH Of ALLENDALE, et a!.,

                             Defendants.

 CECCHI, District Judge.

        This matter comes before the Court on the motions of Richard Epstein, (ECf No. 173), the

 Passaic River Coalition, (ECf No. 174), David Bole, the Borough of Allendale, Mary McDonnell,

 David Pfund, and Stiles Thomas, (ECF No. 176), John Albohm, (ECF No. 177), and the Bergen

 County Sheriffs Department, (ECF No. 178), (collectively, “Defendants”) to dismiss Plaintiffs

 corrected second amended complaint. (ECF No. 167). The Court is also in receipt of Plaintiffs

 omnibus opposition to Defendants’ motions, (ECF No. 190),’ as well as Plaintiffs motion for

default judgment as against Defendants Louis Capazzi and Thomas P. Monahan. (ECF No. 191).

Additionally, the Court has received Defendants’ reply briefs to Plaintiffs omnibus opposition.

(ECf Nos. 193, 195, 199, 200, 203).2

       Having reviewed the parties’ submissions, the Court has determined that further briefing


‘The Court notes that Plaintiff filed two omnibus opposition briefs. (See ECF Nos. 189-190). The
Court will deem the later filed document as Plaintiffs operative briefing.
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  The Court is also in receipt of numerous letters from Plaintiffs counsel responding to
Defendants’ reply briefs. (See ECf Nos. 194, 196, 198, 201, 202). As the Court did not grant
Plaintiff leave to file any sur-replies to Defendants’ reply briefs, the Court will not consider
Plaintiffs submissions. See L. Civ. R. 7.1 (d)(6) (“No sur-replies are permitted without permission
of the Judge or Magistrate Judge to whom the case is assigned.”).

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 is warranted in order to rule on the motions.         More specifically, the parties should submit

 supplemental briefing detailing as to each related state court litigation the: (1) status of each case;

 (2) case number; (3) judge; (4) procedural posture; (5) brief history of rulings; and (6) if appealed,

 what has transpired. Moreover, the parties should address, on a count-by-count basis, whether

 Plaintiffs’ claims are barred by any abstention doctrine, including but not limited to the Rooker

 Feldman and Younger abstention doctrines. In so doing, the parties should clearly and succinctly

 state the factual and legal bases as to why, or why not, the Court must abstain as to each count.

 Moreover, the parties are not to merely incorporate by reference any portion of their prior filings,

 nor are they to include any novel arguments in these supplemental briefs.                The parties’

 supplemental briefs are not to exceed ten (10) pages in length.

        Accordingly, IT IS on this    1 day of                   ,   2018,

        ORDERED that within thirty (30) days of this Order, the parties shall file their

 supplemental briefs, not to exceed ten (10) pages in length; and it is further

        ORDERED that the Clerk shall ADMISTRATIVELY TERMINATE Defendants’

 motions to dismiss, (ECF Nos. 173, 174, 176, 177, 178), as well as Plaintiffs motion for default

judgment, (ECF No. 191), pending full briefing and a submission by the parties indicating that

briefing is complete and requesting that the motions be reinstated.

        SO ORDERED.


                                                            CLAIRE C. CECCHI, U.S.D.J.




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